              IN THE UNITED STATES DISTRICT COURT FOR THE
                   MIDDLE DISTRICT OF NORTH CAROLINA


 United States of America,
                                                  No. 11-cv-507
                       Plaintiff;
         v.                                       UNITED STATES’ UNOPPOSED
                                                  MOTION TO DISMISS THE
 Alamance County, et al.,                         AMENDED COMPLAINT AS MOOT
                       Defendants.



      The United States respectfully asks this Court to dismiss its Amended Complaint,

ECF No. 17, and this action with prejudice pursuant to Federal Rule of Civil Procedure

41(a)(2). In support of this Motion, the United States submits its Memorandum of Law

and Exhibit A. As set forth in the Memorandum of Law, the United States has concluded

its 27-month investigation of the Alamance County Sheriff’s Office (“ACSO”) and today

issued the formal Findings of that investigation. The United States no longer seeks to

interview ACSO personnel for investigative purposes. Accordingly, the United States’

claim regarding the application of North Carolina Rule of Professional Conduct 4.2 is

moot because there is no “actual controversy” ripe for declaratory relief. Counsel for

Alamance County and Sheriff Johnson consent to this request.

                                                Respectfully submitted,


      RIPLEY RAND                               THOMAS E. PEREZ
      United States Attorney                    Assistant Attorney General
      Middle District of North Carolina         Civil Rights Division

      GILL P. BECK                              ROY L. AUSTIN, JR.
      North Carolina Bar Number: 13175          Deputy Assistant Attorney General




      Case 1:11-cv-00507-TDS-JEP Document 51 Filed 09/18/12 Page 1 of 3
Assistant United States Attorney        Civil Rights Division
Chief, Civil Division
Middle District of North Carolina       JONATHAN M. SMITH
P.O. Box 1858                           Chief
Greensboro, NC 27402                    Special Litigation Section
Tel: (336) 333-5351                     Civil Rights Division
gill.beck@usdoj.gov
                                        AVNER M. SHAPIRO
                                        DC Bar Number: 452475
                                        Special Counsel
                                        Special Litigation Section
                                        Civil Rights Division

                                        s/ Samantha K. Trepel
                                        SAMANTHA K. TREPEL
                                        DC Bar Number: 992377

                                        s/ Michael J. Songer
                                        MICHAEL J. SONGER
                                        DC Bar Number: 975029
                                        Trial Attorneys
                                        United States Department of Justice
                                        Civil Rights Division
                                        Special Litigation Section
                                        950 Pennsylvania Avenue, N.W.
                                        Washington, DC 20530
                                        Tel: (202) 514-6255
                                        Fax: (202) 514-4883
                                        samantha.trepel@usdoj.gov
                                        michael.songer@usodj.gov

                                        Attorneys for the United States




                                    2



Case 1:11-cv-00507-TDS-JEP Document 51 Filed 09/18/12 Page 2 of 3
                           CERTIFICATE OF SERVICE

       I certify that the foregoing United States’ Motion To Dismiss the Amended
Complaint as Moot was served through the electronic filing service on September 18,
2012, to the following individuals:


Clyde B. Albright
Benjamin C. Pierce
Alamance County Attorney’s Office
124 West Elm Street
Graham, NC 27253
clyde.albright@alamance-nc.com
ben.pierce@alamance-nc.com

Attorneys for Defendant Alamance County

S.C. Kitchen
Turrentine Law Firm
920-B Paverstone Dr
Raleigh, NC 27615
ckitchen@turrentinelaw.com

Attorney for Defendants ACSO and Sheriff Johnson



                                               s/ Samantha K. Trepel
                                               SAMANTHA K. TREPEL
                                               Attorney for the United States




                                           3



      Case 1:11-cv-00507-TDS-JEP Document 51 Filed 09/18/12 Page 3 of 3
